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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )             8:06CR99
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
RAYMOND C. WHITBACK, SR., and                     )
KIMBERLY THIEM,                                   )
                                                  )
                     Defendants.                  )
       This matter is before the court on the motion to continue by defendant Kimberly
Thiem (Thiem) (Filing No. 56). Thiem seeks a continuance of the trial of this matter for at
least sixty days. Thiem's counsel represents that counsel for the government has no
objection to the motion. Thiem's counsel represents that Thiem will submit an affidavit in
accordance with paragraph 9 of the progression order whereby Thiem consents to the
motion and acknowledges she understands the additional time may be excludable time for
the purposes of the Speedy Trial Act. Upon consideration, the motion will be granted and
trial will be continued as to all defendants.
       IT IS ORDERED:
       1.     Thiem's motion to continue trial (Filing No. 56) is granted.
       2.     Trial of this matter as to all remaining defendants is re-scheduled for
October 2, 2006, before Chief Judge Joseph F. Bataillon and a jury. The ends of justice
have been served by granting such motion and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between July 20, 2006 and October 2, 2006, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that defendants' counsel require additional time to adequately prepare the
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).
       DATED this 20th day of July, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
